            Case 2:20-cv-03098-GAM Document 38 Filed 11/09/21 Page 1 of 1


                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

JAMES McNULTY                                  :
                                               :
       v.                                      :        CIVIL ACTION NO. 20-3098
                                               :
GEORGE MILLER, et al.                          :


                                               ORDER

       This 9th day of November, 2021, upon careful and independent consideration of the petition

for writ of habeas corpus, review of the Report and Recommendation of United States Magistrate

Judge Scott W. Reid, and consideration of Petitioner’s objections, it is hereby ORDERED that:

            1. The Report and Recommendation is APPROVED and ADOPTED.

            2. Petitioner’s objections are overruled.

            3. The petition for a writ of habeas corpus is DENIED in part and DISMISSED in

               part;

            4. There is no basis for the issuance of a certificate of appealability.


                                                          /s/ Gerald Austin McHugh
                                                        United States District Judge
